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                                         United States District Court
                                          Western District of Texas
                                                   Austin
                                             Deficiency Notice


To:             Thompson, William Thomas
From:           Court Operations Department, Western District of Texas
Date:           Wednesday, September 29, 2021
Re:             01:21-CV-00796-RP / Doc # 43 / Filed On: 09/29/2021 08:56 AM CST

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
(1) Other
   Remarks: Pursuant to the Administrative Policies and Procedures Section 3g, with the exception of multiple motion
types, "...each filing must consist of only one pleading. Multiple pleadings...must be filed as separate documents."
Your document contains a RESPONSE and a MOTION. Your RESPONSE has been filed. Please re-file you
MOTION separately with a proposed order.
